                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

Charles Kendricks, on behalf of himself and Class
Members,
                                                        Case No. 13-cv-1068
                 Plaintiff,
      v.
                                                        Honorable Andrea R. Wood
LaToya Hughes & Charles Truitt,
                 Defendants.

                          PLAINTIFFS’ MOTION FOR PRELIMINARY
                         APPROVAL OF CLASS ACTION SETTLEMENT

           Pursuant to Federal Rule of Civil Procedure 23(e), Named Plaintiff, Charles Kendrick

individually and on behalf of the Settlement Class, by and through their undersigned counsel,

respectfully move this Court to preliminarily approve the proposed class action settlement. For

the reasons set forth in Plaintiffs’ accompanying memorandum of points and authorities, the

Court should grant the motion and enter the attached Preliminary Approval Order which:

           1.    Preliminarily approves the Proposed Settlement Agreement;

           2.    Appoints the Named Plaintiff as class representative for the Settlement Classes

                 and Heather Lewis Donnell of Loevy & Loevy as Class Counsel;

           3.    Requires that notice be sent to the Settlement Class as provided in the Notice

                 Plan; and

           4.    Schedules a hearing on final approval of this Agreement (the “Final Approval

                 Hearing”) on or after January 17, 2025, to consider the fairness, reasonableness,

                 and adequacy of the proposed settlement and whether it should be finally

                 approved by the Court, as well as to determine the Attorneys’ Fee Award and

                 Incentive Awards.
       A copy of the Settlement Agreement is attached to Plaintiffs’ memorandum in support of

this motion as Exhibit 8. The attachment includes the following additional documents, which are

exhibits to the Settlement Agreement:

       Exhibit                      Description

       A                            Class Notice of Settlement

       B                            Proposed Order Preliminarily Approving Settlement

       C                            Proposed Order Approving Final Settlement


       WHEREFORE, the Plaintiffs request that the Court grant their motion and enter the

Preliminary Approval Order.


Janaury 17, 2025                                   Respectfully submitted,

                                                   /s/ Heather Lewis Donnell


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